         Case 2:16-cv-01255-DBP Document 7 Filed 02/08/17 Page 1 of 1




LOREN M. LAMBERT, No. 5101
Arrow Legal Solutions Group, PC
Attorney for Plaintiff
266 East 7200 South
Midvale, Utah 84047
llambert@arrowlegalsolutions.com

        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                          CENTRAL DIVISION


 JUAN GONZALEZ,                                   ORDER ON STIPULATED
                                                  MOTION TO DISMISS
        Plaintiff,

 vs.

 EAGLE MOUNTAIN PRESS, LLC, and,                  Case No. 2:16-cv-01255-DBP
 in his official capacity, JOE OSTMEIER           Judge: Dustin B. Pead

        Defendant.

       Based upon the Joint Stipulation for Dismissal with Prejudice submitted by the

parties, IT IS HEREBY ORDERED THAT the above-referenced matter, including all

claims against all parties, is hereby dismissed with prejudice on the merits, each side to

bear its own costs and attorneys' fees.

       DATED this 8th day of February, 2017.



                                           Dustin B. Pead
                                           U.S. Magistrate Judge
